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                       UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF LOUISIANA
                            LAFAYETTE DIVISION


 KELLY BEASLEY                                 CASE NO. 6:21-CV-03276

 VERSUS                                        JUDGE ROBERT R. SUMMERHAYS

 SCHOOL DISTRICT BD OF EDUCATION               MAGISTRATE JUDGE PATRICK J.
 IBERIA PARISH ET AL                           HANNA


                        REPORT AND RECOMMENDATION

       Before the Court are two (2) motions to dismiss, regarding Plaintiff’s original

 and amended complaint, filed by defendants Iberia Parish School Board (“IPSB”),

 Iberia Parish Superintendent of Schools Carey Laviolette (“Superintendent”),

 Assistant Iberia Parish Superintendent of Schools Jennifer Joseph (“Assistant

 Superintendent”), Nursery O. McNeal, Elvin Pradia, Jesse J. McDonald, Raymond

 Q. Lewis, Debra A. Savoie, Michael W.S.L. Mayeux, Dan L. Leblanc, Sr., Brad M.

 Norris, Dana P. Dugas, Rachel L. Segura, Kathleen B. Rosamond, Arthur L.

 Alexander, Danny D. Sequra, and Kenric P. Freeman (collectively “School Board”),

 Jennifer Derouen (“Derouen”), and Dina Bourque (“Bourque”) (collectively

 “Defendants”). (Rec. Docs. 4, 11). Plaintiff opposes dismissal. (Rec. Doc. 14). The

 undersigned issues the following report and recommendation pursuant to 28 U.S.C.

 § 636. Considering the evidence, the law, and the arguments of the parties, and for

 the reasons explained below, the Court recommends that Defendants’ first motion to


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 dismiss (Rec. Doc. 4) be DENIED as MOOT and Defendants’ second motion to

 dismiss (Rec. Doc. 11) be GRANTED in full and, accordingly, Plaintiffs’ claims be

 DENIED and DISMISSED as explained below.

                                                 Background

       This case arises from the imposition of a statewide mask mandate (“mandate”)

 by Louisiana Governor John Bel Edwards (“Gov. Edwards”).           Announced in

 Proclamation Number 137 JBE 2021, the mandate required, inter alia, persons age

 five (5) and older to wear face coverings while “indoors in any place outside of a

 private residence[.]” The Louisiana Board of Elementary and Secondary Education

 (“BESE”) is a quasi-legislative body charged with the promulgation of policies

 pertaining to Louisiana’s public education system.1 In December 2020 BESE

 revised Bulletin 741 (“bulletin”), containing the Louisiana Handbook for School

 Administrators, to include minimum standards for the safe operation of schools

 regarding COVID-19-related protocols during the school year.2 As stated in the

 bulletin, BESE’s specific policy as to face coverings (“masks”) is “superseded by

 any statewide or district specific mandate issued by the governor.”3 Thus, by

 issuance of Proclamation Number 137 JBE 2021, the mandate supplanted BESE’s

 policy regarding required masking in schools. By successive proclamation, issued



 1
       LA. CONST. Art. VIII § 3 (1974).
 2
       LR 46:1672 (December 2020).
 3
       LA. ADMIN. CODE tit. 28, pt. 115, § 403(E)(1).

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 October 26, 2021, Governor Edwards lifted the general mandate, but extended the

 mandate for all Louisiana K-12 schools, subject to the caveat that school districts

 may opt out of the mandate if they follow isolation and quarantine protocols as

 recommended by the U.S. Centers for Disease Control (“CDC”).4 IPSB opted out

 of the mandate in November of 2021.5

         Plaintiff Kelly Beasley (“Plaintiff” or “Beasley”), is the parent of two (2)

 minor children, Z.C. and M.B., enrolled in Iberia Parish Schools during the 2021-

 2022 school year.6 The Court surmises Z.C. was enrolled at Iberia Middle School,

 at which Bourque is the Principal, while M. B. was enrolled at Caneview Elementary

 School, at which Derouen is the Principal.7 Plaintiff alleges that, at some point

 during the school year, she withdrew her children from their respective schools to

 homeschool them; a decision she alleges she was forced into by the prospect of

 religious interference posed by the mandate.8

         Plaintiff, proceeding pro se, filed the instant suit on September 13, 2021

 alleging the mandate infringed upon her children’s free exercise of religion and

 constituted a violation of federal law. Plaintiff’s original complaint asserted claims

 for religious discrimination, due process violation, and violation of the Fourteenth


 4
         Proclamation Number 203 JBE 2021.
 5
         https://www.iberianet.com/news/no-more-mask-mandate-for-iberia-schools/article_cff37d66-3df0-11ec-
 a1aa-7733d887ffcd.html
 6
         Rec. Doc. 1 at ¶ 4; Rec. Doc. 10 at ¶ 5.
 7
         Rec. Doc. 1 at ¶ 5; Rec. Doc. 10 at ¶¶ 4 - 5.
 8
         Rec. Doc. 10 at ¶ 6.

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 Amendment’s equal protection clause.                          Plaintiff sought “relief from damages

 incurred, at the maximum rate permitted by law.” The original complaint further

 clarified that Plaintiff was seeking “monetary compensation based on the merit of

 this case.”9 Plaintiff amended her complaint on November 22, 2021, adding a

 variety of claims including violations of the Americans with Disabilities Act

 (“A.D.A.”), as well as corresponding Louisiana law, and adding claims for

 declaratory and injunctive relief to her prayer for monetary relief.10

          Plaintiff objects to the implementation of the mandate in Iberia Parish schools

 based on her religious belief that requiring Iberia Parish school students to wear a

 mask during school prevents the free exercise of her children’s Catholic faith.

 Plaintiff alleges on or about August 11, 2021, Plaintiff’s son, M. B. was placed in an

 “isolation classroom” and left without adequate supervision for “approximately an

 hour or more, while crying to the point of hyperventilating, without adequate

 supervision” until she could pick him up from Caneview Elementary.11 Plaintiff

 claims she was told that M. B. refused to wear a mask while at school and, pursuant

 to the mandate, would not be permitted to remain on campus.12 Plaintiff alleges M.

 B. was “traumatized” by this experience and continues to display residual effects of



 9
        Rec. Doc. 1 at p. 5.
 10
        Rec. Doc. 10 at ¶¶ 78-83. (“Plaintiff replaces paragraph of RELIEF in its entirety to read as follows:”
 emphasis original).
 11
        Id. at p. 6.
 12
        Rec. Docs. 1, 10 at ¶ 4.

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 his time in isolation.13 The Court infers from Plaintiff’s complaint that her daughter,

 Z.C., similarly left Iberia Middle School, rather than comply with the mandate

 during the 2021-22 school year, although the details of Z.C.’s unenrollment are not

 included in the complaint.14

       After being informed that her children must comply with the mandate to

 remain on campus for instruction at their respective schools, Plaintiff submitted what

 she refers to as a “religious exemption” to both Iberia Middle School and Caneview

 Elementary School seeking to have her children exempted from compliance with the

 mandate based on the belief that, as Catholics, M. B. and Z. C. would be prevented

 from the practice of their religion if made to comply with the mandate. Specifically,

 Plaintiff’s submission, styled in part as a letter to each school outlined a belief that

                people are relational beings and that these relationships
                mirror the relationship between God, Jesus Christ and the
                Holy Spirit…I believe that Christians are called to
                communicate God’s words and message of love to the
                world…I…write to state my religious objections to a mask
                mandate in our school. I do not consent to forcing a face
                covering on my child, who is created in the image of God.
                Masks lead to anti-social behaviors, interfere with
                religious commands to share God’s love with others, and
                interfere with relationships in contravention of the Bible.15

       With her letter, which Plaintiff purports is also signed by a Catholic priest,

 Plaintiff attached a Louisiana Department of Education “Statement of Exemption

 13
       Rec. Doc. 10 at pp. 6-7.
 14
       Id. at ¶ 5(b), et seq.
 15
       Rec. Doc. 1-2.

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 from Immunizations” which she altered to add the phrase “and Mask[.]”16

 Correspondence attached to Plaintiff’s complaint indicates neither Iberia Middle

 School, nor Caneview Elementary School granted Plaintiff’s children an exemption

 based on Plaintiff’s requests.17 Such correspondence further shows that, following

 a number of additional unexcused absences by M.B., Caneview Elementary

 Principal Jennifer Derouen informed Plaintiff that M.B.’s unexcused absences had

 been referred to the District Attorney under the “FINS program[.]”18

           Plaintiff’s complaint, as amended, asserts a variety of claims arising from the

 facts alleged:

      1.           Claims under Title VII of the Civil Rights Act of 1964 alleging

                   religious discrimination by Defendants as to Plaintiff’s minor children;

      2.           Claims under the Americans with Disabilities Act (“A.D.A.”) for

                   “perceived as” disability discrimination as to her minor children;

      3.           Federal Due Process claims stemming from Defendant Derouen’s

                   alleged failure to follow proper protocols before referring

                   Plaintiff to the District Attorney based on her child’s unexcused

                   absences.



 16
          Id. at pp. 7, 10.
 17
          Rec. Doc. 1-2 at pp. 5-6, 9.
 18
          Id. at p. 13; “FINS program” refers to the Families in Need of Services program which takes referrals of
 “status offenders” including, but not limited to truancy complaints.
 https://www.lasc.org/children_families/WHAT_IS_FINS_2018-19.pdf

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    4.       Louisiana law due process claims arising from the same facts as #3;

    5.       Louisiana law claims for disability discrimination; and

    6.       Claims under 28 U.S.C. § 1343, asserting a violation of Plaintiffs’ civil

             rights.

    7.       Louisiana constitutional claims under Art. I, § 3 for “violation of right

             of individual dignity.”

    8.       Louisiana constitutional claims under Art. I, § 20 alleging violations of

             Louisiana’s prohibition on inhumane treatment.

    9.       Claims asserting violations of Art. 101 of the Louisiana Children’s

             Code.

    10.      Claims for violation of Nuremburg Code of 1947, alleging

             experimentation without consent.

    11.      Claims under 18 U.S.C. §§ 241, 242, alleging a conspiracy among

             Defendants to deprive Plaintiffs of their rights under the U.S.

             Constitution.

    12.      A request for a jury trial under the Seventh Amendment.

    13.      Claims against Defendants for “Violation of God Given Unalienable

             Right” under the Tenth Amendment.




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      14.            Claims against Defendants for the intentional tort of false imprisonment

                     under Louisiana law.19

            Plaintiffs’ amended prayer for relief includes a prayer for a judgment,

 “[p]ermanently enjoin[ing] Defendants…and all persons in active concert or

 participation with any of them, from implementing or enforcing the mask

 policy…that is not in compliance with applicable law.”20

            Defendants filed the instant motions to dismiss as to Plaintiff’s original and

 amended complaints. The motions are briefed and properly before the Court for

 consideration.

                                                 Law and Analysis

            The Court notes at the outset that Plaintiff’s complaint, totaling thirty-five

 (35) pages in length as amended, purports to state sixteen (16) different claims

 against Defendants.21 Beasley’s complaint lists “Kelly Beasley, Z.C., M.B., minors

 By and through their parent, Kelly Beasley” as plaintiffs to this suit. As a threshold

 inquiry, the Court must determine whether Plaintiff has standing in this matter.22




 19
            Rec. Doc. 10, generally.
 20
            Id. at ¶ 83.
 21
            Rec. Doc. 10, generally.
 22
            Gill v. Whitford, 138 S.Ct. 1916, 1923 (2018) (internal citations omitted).

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         I.       Standing

         Article III of the Constitution of the United States grants to federal courts

 jurisdiction over “Cases” and “Controversies[.]”23 The doctrine of standing to sue

 is one deriving from the courts’ Article III “case and controversy” jurisdictional

 limitation.24 Jurisprudence establishes three (3) requisite elements of standing:

                  (1) …an injury in fact; (2) fairly traceable to the
                  challenged conduct of the defendant; and (3) that is likely
                  to be redressed by a favorable judicial decision.25

         A plaintiff must demonstrate each of these elements in order to prove standing

 to bring a claim.26 “The standing inquiry focuses on whether plaintiff is the proper

 party to bring this suit.”27 A plaintiff asserting multiple claims bears the burden of

 establishing standing as to each claim.28

         28 U.S.C. § 1654 provides that an individual may file a civil suit on her own

 behalf in federal court. In such an instance, the plaintiff, as here, acts “pro se[.]”29

 The statutory authority to act pro se before the court does not permit a non-attorney

 to represent another person before the court.30 This prohibition applies to the parents




 23
         U.S. CONSTITUTION, Art. 3, § 1.
 24
         Spokeo, Inc. v. Robins, 578 U.S. 330, 337 (2016) quoting Raines v. Byrd, 521 U.S. 811, 818 (1997).
 25
         Id., at 337 citing Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).
 26
         Id.
 27
         Raines, 521 U.S. at 818.
 28
         Davis v. Fed. Election Comm’n., 554 U.S. 724, 734 (2008).
 29
         Leyfert v. Com. Of Pa. House of Representatives, 2005 WL 3433995 *2 citing Iannaccone v. Law, 142 F.3d
 553, 558 (2d Cir. 1998).
 30
         Id.

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  or guardians of minor children. A parent may not assert “next friend” capacity

  claims on behalf of a minor child as a pro se litigant.31

           In this case, the majority of Plaintiff’s purported claims are brought on behalf

  of her two (2) minor children, Z.C. and M.B. Plaintiff lacks standing to assert such

  claims in this case. As minor children, M.B. and Z.C. lack procedural capacity to

  assert their own claims under Louisiana law, applicable here since Louisiana is the

  domicile of all Plaintiffs.32 Given the foregoing law and jurisprudence, all claims

  purportedly brought by Plaintiff on behalf of her minor children will be dismissed

  without prejudice.33

           Proceeding pro se under 28 U.S.C. § 1654, Plaintiff may bring claims on her

  own behalf. Considering Plaintiff’s pro se status, the Court construes Plaintiff’s

  filings liberally, holding her pleadings to a more lenient standard than that applied

  to attorneys.34 Construing pro se pleadings according to this standard prevents the


  31
            Sprague v. Dept. of Family and Protective Servs., 547 Fed.App’x. 507, 508 (5th Cir. 2013) citing Johnson v.
  Lufkin Daily News, 48 Fed. Appx. 917 (5th Cir. 2002). Smith v. Goree, Civ. Act. No. 17-CV-482, 2018 WL 752354, *2
  (W.D. La. 2018) citing Chatman v. Miss. High Sch. Athletics Ass’n., 552 Fed. Appx. 335, 337 (5th Cir. 2014) (citing
  Myers v. Loudoun Cnty. Pub. Schs., 418 F.3d 395, 401 (4th Cir. 2005)) (Fifth Circuit does not permit pro se litigants to
  appear in a representative capacity) and Aduddle v. Body, 277 Fed. Appx. 459, 462 (5th Cir. 2008) (citing Myers, 418
  F.3d at 401) (Fifth Circuit’s prohibition on pro se litigants appearing in a representative capacity applied equally to
  parents or guardians seeking to enforce rights of minor children).
            An exception to this rule applies as to parents who seek to represent minor children in Social Security
  appeals in federal courts. Harris v. Apfel, 209 F.3d 413 (5th Cir. 2000). The instant case does not present facts
  falling within this exception.
  32
            Fed. R. Civ. P. 17(b)(1) (providing that the capacity of any individual to sue or be sued is determined by the
  law of the individual’s domicile); La. C.C.P. Art. 683 (providing that an unemancipated minor child lacks the
  procedural capacity to sue). The Court assumes for these purposes that the minor children M.B. and C.Z. are
  unemancipated. Plaintiff’s complaint avers that the minor children live with her. Plaintiff is domiciled in Louisiana;
  residing in New Iberia, Louisiana. (See Rec. Docs. 1, 10).
  33
            Morgan v. Texas, 251 Fed. App’x. 894, 896 n. 2 (5th Cir. 2007).
  34
            Taylor v. Books A Million, Inc., 296 F.3d 376, 378 (5th Cir. 2002).

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  loss of rights that may otherwise result from the sort of legally inartful drafting

  common in pro se cases.35

             Plaintiff’s suit names the individual members of the Iberia Parish School

  Board, the Iberia Parish School Board as a body, both the Superintendent and

  Assistant Superintendent of Iberia Parish, as well as two school principals, as

  defendants. Suits against a parish school boards are not considered suits against an

  arm of the state for Eleventh Amendment sovereign immunity purposes because

  their funding is largely local and, therefore, a judgment against these defendants

  would not tax the state treasury.36 Accordingly, suits against the Iberia Parish

  Superintendent and Assistant Superintendent, the school board and school board

  members in their official capacity are similarly exempted from Eleventh

  Amendment                  sovereign              immunity,                as          they            are           not

  “state officials” for this purpose.37 Applying the foregoing logic neither the Iberia

  Parish Superintendent and Assistant Superintendent, nor principals Bourque and

  Derouen are “state officials” in this matter.




  35
            Cledera v. United States, 834 Fed. App’x 969, 972 (5th Cir. 2021) citing Andrade v. Gonzales, 459 F.3d 538,
        th
  543 (5 Cir. 2006).
  36
            Minton v. St. Bernard Parish Sch. Bd., 803 F.2d 129, 131-32 (5th Cir. 1986). The Eleventh Amendment is a
  bar to suits against states, state agencies, or state officials in their official capacities, except where the state has
  clearly and unequivocally waived its sovereign immunity. Pennhurst State School & Hospital v. Halderman, 465
  U.S. 89, 98 (1984). According to the Ex Parte Young doctrine, an exception exists regarding suits against such
  parties alleging a violation of federal law. 209 U.S. 123 (1908).
  37
            Smith v. Concordia Parish School Bd., 387 F. Supp. 887, 891 (W.D. La. 1975) (permitting claims against
  individual school board members).

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           II.      Injunctive Relief and Mootness

           As outlined above, the mandate imposed on Louisiana’s K-12 schools was

  amended to permit individual school boards to opt out, provided any such school

  board adheres to CDC-recommended isolation and quarantine procedures.38

  Plaintiff seeks, in addition to monetary relief, declaratory relief in the form of a

  judgment from this court declaring mask mandates in Iberia public schools to be

  unconstitutional, and a permanent injunction39 preventing the imposition of the

  mandate in Iberia Parish schools and further enjoining Defendants from

  implementing any such mandate in the future.40

           As a party seeking preliminary injunctive relief, Plaintiff must show: (1) a

  substantial likelihood of success on the merits; (2) that she will suffer irreparable

  injury without the injunction; (3) the threatened injury to Plaintiff outweighs the

  threatened harm to the party she seeks to enjoin; and (4) granting the injunction will

  not disserve the public interest.41 “A plaintiff seeking injunctive relief, unlike a




  38
           203 JBE 2021 (10/26/2021) lifted the statewide mask mandate effective October 27, 2021, subject to
  parameters applicable to, inter alia, K-12 public and private schools.
  39
           The Court notes here that Plaintiff’s complaint prays for “permanent” injunctive relief. Since such relief is
  not available absent a full trial, we construe Plaintiff’s complaint as one for both preliminary and permanent
  injunctive relief. Our analysis proceeds under that theory.
  40
           Rec. Doc. 10 at ¶¶ 79-83.
  41
           Ridgely v. Fed. Emergency Mgmt. Agency, 512 F.3d 727, 734 (5th Cir. 2008).

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  plaintiff seeking damages, must establish more than the existence of a ‘past wrong’

  to satisfy the injury-in-fact requirement” of Article III standing.42

           We begin this portion of analysis with the observation that the mandate at

  issue in this case is no longer in effect. As stated above, the Iberia Parish School

  Board opted out of the mandate in November of 2021, as permitted by Gov.

  Edwards’ proclamation.43 An action for injunction does not become moot because

  the conduct complained of was terminated, if there is a possibility that the conduct

  will recur.44 The party arguing in favor of mootness based on voluntary conduct

  bears a heavy burden to establish the conduct at issue may not reasonably be

  expected to recur.45

           In the instant matter, the cessation of the mandate in Iberia Parish schools was

  based on the authority of Gov. Edwards’ October 26, 2021 Proclamation. A recent

  decision by the Middle District of Louisiana in Spell v. Edwards is relevant to the

  issue of mootness in this case.46 In Spell, the Court considered injunctive relief

  claims based on allegations that Louisiana’s restrictions on the size of religious

  gatherings violated the Equal Protection Clause. Prior to the Court’s ruling, the



  42
            Smith v. Board of Commissioners of Louisiana Stadium and Exposition District, 371 F.Supp.3d 313, 321
  (E.D. La. 2019) quoting Armstrong v. Turner Industries, Inc., 141 F.3d 554, 563 (5th Cir. 1998) (internal citations
  omitted).
  43
            203 JBE 2021 (10/26/2021).
  44
            Allee v. Medrano, 416 U.S. 802, 810-11 (5th Cir. 2021) (internal citations omitted); Freedom From Religion
  Found. v. Abbott, 955 F.3d 417, 425 (5th Cir. 2020) (internal citations omitted).
  45
            Id.
  46
            Civ. Act. Nos. 20-cv-00282 and 20-cv-00423, 2022 WL 131249 (M.D. La. 1/12/2022).

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  proclamations imposing Louisiana’s religious gathering restrictions expired and, as

  of the date of the Court’s ruling, were not reinstated. Based on Louisiana’s track

  record of easing COVID-19 gathering restrictions, the Court affirmed its prior order

  declaring Spell’s claims for injunctive relief moot. Distinguishing that case from

  Tandon v. Newsom, a recent case before the U.S. Supreme Court involving

  constitutional challenges to California’s restrictions on the size of religious

  gatherings, the Middle District of Louisiana observed the facts underlying each case

  to be sufficiently different as to justify different results.47

         In Tandon, the U.S. Supreme Court was presented with a COVID-19

  restriction on religious events still in effect at the time of its ruling and California’s

  track record of prolonging such restrictions. The facts before the Court in Spell were,

  as noted by the Court, much different. Louisiana allowed its restriction at issue to

  expire and, as of the date of Court’s opinion, such restriction had been so expired for

  approximately ten (10) months. Again, the Court took account of what it saw as an

  undeniable trend in Louisiana away from COVID-19 restrictions.48 Based on its

  conclusion that the plaintiff failed to demonstrate a reasonable likelihood of




  47
         141 S.Ct. 1294 (2021).
  48
         Spell, 2022 WL 131249 at *9-10.

                                               14
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  reinstatement of the restrictions at issue, the Middle District of Louisiana determined

  Spell’s claims to be moot.49 Spell is currently on appeal to the U.S. Fifth Circuit.50

          Applying the reasoning of Spell in this matter, it may be that Beasley’s claim

  for injunctive relief is moot. The restriction at issue was voluntarily lifted and parish

  school boards were permitted to opt out of the mandate. No reinstatement of the

  mandate appears likely. However, this Court recognizes the difference in the two

  types of restrictions and views this legal issue as undecided within the Fifth Circuit.

  Given the uncertainty regarding a finding of mootness in this case, the undersigned

  will proceed with further analysis, noting the result is the same under either premise.

          We now turn to the first element required for a grant of injunctive relief: a

  showing of likely success on the merits. For the reasons expressed below, this Court

  finds no likelihood of success as to any individual claim by Plaintiff in this matter.

  The court’s analysis of Plaintiff’s claims is conducted pursuant to Fed. R. Civ. P.

  12(b)(6), which requires that we accept “all well-pleaded facts as true, viewing them

  in the light most favorable to the plaintiff.”51 “To survive a Rule 12(b)(6) motion to

  dismiss, the plaintiff must plead ‘enough facts to state a claim for relief that is

  plausible on its face’”52 A claim is facially plausible “when the plaintiff pleads the


  49
           Id.
  50
           Appeal filed February 11, 2022 before the U.S. Fifth Circuit Court of Appeals. See Court of Appeals Docket
  No. 22-30075.
  51
           In re Katrina Canal Breaches, 495 F.3d 191, 205 (5th Cir. 2007) (quoting Martin v. Eby Construction Co. v.
  Dallas Area Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004).
  52
           Id.

                                                          15
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  factual content that allows the court to draw the reasonable inference that the

  defendant is liable for the misconduct alleged.”53 Although the Court accepts as true

  all well-pleaded facts, it is not required to “strain to find inferences favorable to the

  plaintiff.”54 Neither is the court required to accept as true “legal conclusions couched

  as a factual allegation.”55

           A.       Law of Mask Mandates

           Courts presented with constitutional challenges to mask requirements in a

  variety of settings have routinely found that mask mandates do not violate a

  protected liberty interest.56 Similarly, courts considering the allegation that mask

  mandates violate religious freedom uniformly find that such mandates create no

  undue burden on the free exercise of religion.57 Specifically, courts applying the

  rational basis standard of review have found that mask mandates are “rationally

  related to a legitimate government interest” that, although Plaintiff may disagree


  53
            Bell Atlantic v. Twombly, 550 U.S. 555, 570 (2007).
  54
            Southland Sec. Corp. v. Inspire Ins. Solutions, Inc., 365 F.3d 353, 361 (5th Cir. 2004).
  55
            Twombly, 550 U.S. at 556 (quoting Papasan v. Allain, 478 U.S. 265, 286 (1986).
  56
            Zinman v. Nova Southeastern Univ., 2021 WL 4025722 (S.D. Fla. 2021) (finding no injury-in-fact where
  plaintiff alleged he was prevented from participating in an employment opportunity by operation of the Palm
  Beach County mask mandate, which ran afoul of his Jewish faith); Whitfield v. Cuyahoga County Public Library
  Foundation, 2021 WL 1964360 (N.D. Ohio, 2021) (“As an initial matter, there is no general constitutional right to
  wear, or to refuse to wear a mask in public places…federal, state and local governments may govern what must be
  worn in public places, particularly when the health and safety of the general public are at issue.”); Denis v. Ige, 538
  F.Supp.3d 1063 (D. Hawai’I 2021) (concluding mask mandate was “rational measure” designed to accomplish the
  state and county goals of promoting public health by limiting the spread of COVID-19); Cangelosi v. Sheng, Civil
  Action No. 20-CV-1989, *3-4, 2020 WL 5960682 (E.D. La. Oct.8, 2020) (rejecting pro se plaintiff’s arguments that
  mask mandates constitute infringement on fundamental rights, including free speech and privacy).
  57
            Zinman v. Nova Southeastern Univ. at *12 citing Church of the Lukumi Babalu Aye, 508 U.S. 520, 543)
  (noting that mask mandates are neutral law because they are not borne of the motivation to “infringe upon or
  restrict practices because of their religious motivation.”); Delaney v. Baker, 511 F.Supp.3d 55, (D. Mass. 2021);
  Cangelosi v. Edwards, 2020 WL 6449111 *5 (E.D. La. 2020) citing Cangelosi v. Sheng at *4.

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  with regarding the efficacy of masks, clearly lies within the realm of the

  government’s legitimate goal of safeguarding its citizens from illness and death.58

           Here, Plaintiff fails to allege that she was personally subjected to mandatory

  masking under the Iberia Parish schools mandate. Instead, Plaintiff’s individual

  claim is more attenuated. Plaintiff alleges that she was prevented from continuing

  her employment by the mandate, as it forced her to withdraw her children from in-

  person school to homeschool them, else she would be subjected to potential criminal

  liability under truancy laws. Plaintiff also asserts claims for deprivation of due

  process under the Fourteenth Amendment to the U.S. Constitution and Art. I, § 2 of

  the Louisiana Constitution stemming from Derouen’s referral of M.B. to the District

  Attorney’s FINS program pursuant to Louisiana truancy laws.59

           The Fourteenth Amendment provides, in part, “nor shall any State deprive any

  person of life, liberty, or property, without due process of law[.]”60 Art. I, Section 2

  of the Louisiana Constitution similarly provides that “[n]o person shall be deprived

  of life, liberty, or property, except by due process of law.”                                 “The Louisiana

  constitutional clauses are ‘substantially equivalent’ to federal clauses” such that

  courts ‘apply the same analysis to…state and federal claims.’”61

  58
           Jacobson v. Commonwealth of Mass., 197 U.S. 11, (1905); 910 E. Main, LLC v. Edwards, Civ. Act. No. 20-
  CV-965, 481 F.Supp.3d 607 (W.D. La. 8/21/2020); Zinman at *12 citing Oakes v. Collier Cnty., 515 F. Supp. 3d 1202
  (M.D. Fla. 2021).
  59
           Rec. Doc. 10 at ¶¶ 21 – 45.
  60
           U.S. CONST. amend. XIV, § 1.
  61
           Powers v. U.S., 783 F.3d 570, 577 (5th Cir. 2015) citing Bd. of Comm’rs. of Orleans Levee Dist. v. Dept. of
  Natural Resources, 496 So.2d 281, 291 (La. 1986).

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         Relevant here is La. R.S. 17:233, pertaining to the issue of truancy, provides,

  inter alia:

                (b) The parent or legal guardian of a student shall enforce
                the attendance of the student at the school to which the
                student is assigned.

                (c)The principal of the school, or his designee, shall notify
                the parent…in writing on or before a student’s third
                unexcused absence…and shall hold a conference with
                such student’s parent…The student’s parent or legal
                guardian shall sign a receipt for such notification.

                (d) The parent…of any student in kindergarten through
                grade eight who is considered habitually absent pursuant
                to the provisions of this Section shall be in violation of the
                provisions of Subparagraph (b) of this Paragraph and shall
                be punished as follows…


         The Court construes Plaintiff’s complaint as having alleged the deprivation of

  her liberty interest by initiating a truancy referral under the provisions of the

  Attendance Policy, which mirrors La. R.S. 17:233, without due process.

         Correspondence attached to Plaintiff’s original complaint shows Plaintiff was

  informed in a Sunday, August 22, 2021 email from Derouen, of the potential for

  referral to the District Attorney if her son continued to accrue unexcused absences.

  At the time of Derouen’s email, M.B. had accrued an undisclosed number of such

  absences, although the Court assumes from the content of the email that such




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  absences numbered less than five (5).62 Correspondence of Thursday, August 26,

  2021 demonstrates that, as warned, M.B.’s continued unexcused absences resulted

  in Plaintiff’s referral to the District Attorney.63

          Plaintiff asserts that she was deprived of due process because Derouen failed

  to follow protocols regarding truancy referrals published in the Caneview

  Elementary Handbook’s Attendance Policy.64 The evidence before the Court via

  Plaintiff’s own complaint contradicts Plaintiff’s assertion. It appears that Plaintiff

  was referred for a conference with the District Attorney on or about Thursday,

  August 26, 2021. Moreover, Plaintiff’s own complaint affirms that she was aware

  of the prospect of truancy referral, as she alleges she entreated defendant Brad

  Norris, an Iberia Parish School Board member, to take up the issue of the mandate

  quickly, as she felt she would “have the DA knocking down my door soon.”65

  Finally, Plaintiff does not allege that she was ever contacted by the District Attorney




  62
            Rec.Doc. 1-2 at p. 6 (“I was able to mark him [excused] for 2 days to give you time to research home
  schools and make the best decision for your child. Please know that after the 2 nd day, he has been marked absent
  and these absences are unexcused. We are required to turn in excessive unexcused absences [to] the DA. After
  five unexcused absences we will have to complete a DA referral. If you have any questions or if you would like to
  have a conference in person, please contact me.”)
  63
            Id. at p. 13.
  64
            Plaintiff asserts the Attendance Policy required Derouen to hold a conference with her prior to truancy
  referral. Plaintiff’s interpretation of the Attendance Policy is inaccurate, as it clearly states, “[w]hen a student
  misses three (3) unexcused days of school, the school will contact the parten/guardian to discuss the matter. After
  the student misses five (5) unexcused days, the student and parent/guardian will be turned over to Student
  Services through the IPSB and referred to the District Attorney’s Office for a mandatory conference.” As cited
  above, Principal Derouen contacted Plaintiff to inform her of the burgeoning issue regarding M.B.’s unexcused
  absences prior to making a truancy referral to the District Attorney. Rec. Doc. 1 at pp. 6, 13.
  65
            Rec. Doc. 10 at ¶ 6.

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  or that the truancy referral complained of led to any adverse proceeding against

  Plaintiff.66

           To the extent Plaintiff alleges her due process required an in-person

  conference with Derouen to discuss the issue of M.B.’s unexcused absences, the

  Court also rejects such argument on the basis that Plaintiff’s own unwillingness to

  abide by the mask policy while on campus was an impediment to any such

  conference.67 As explained above, neither the federal or state constitution guarantee

  Plaintiff the right to refuse to wear a mask in public places.68

           Plaintiff fails to allege facts which, when taken as true, state a claim for

  violation of her due process rights.                        Taking Plaintiff’s allegations regarding

  enforcement of the Attendance Policy as true, it is clear to the Court that Derouen

  followed the Attendance Policy and provided Plaintiff with ample opportunity to

  discuss and/or rectify M.B.’s attendance record prior to initiating a truancy referral.

           Additionally, as did the Fifth Circuit in E.T. v. Paxton,69 this Court rejects

  Plaintiff’s argument that she was forced from her employment. Rather, Plaintiff’s



  66
            Louisiana’s law of truancy is found at La. R.S. 17:221, et seq. La. R.S. 17:233 provides for the imposition of
  a fine for a first violation and no more than thirty (30) days imprisonment, plus a fine not to exceed fifty (50)
  dollars pursuant to La. R.S. 17:221(A)(2).
  67
            Rec. Doc. 1-2 at pp. 5-6 (correspondence showing Plaintiff was unresponsive to Derouen’s specific
  invitation for Plaintiff to come to campus to meet with her, provided she abide by the mask mandate while on
  campus).
  68
            Denis v. Ige, 2021 WL 3892657 (D. Hawai’I 2021); Cangelosi v. Sizzling Ceasars, LLC, Civ. Act. No. 20-CV-
  2301, 2021 WL 291263 (E.D. La. 2021); Cangelosi v. Edwards, Civ. Act. No. 20-CV-1991, 2020 WL 6449111, * 5 (E.D.
  La. 2020).
  69
            19 F.4th 760, n. 2 (5th Cir. 2021).

                                                            20
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  decision to leave her employment to homeschool her children was the result of her

  own choice and one Plaintiff is free to make. Having so chosen, however, Plaintiff

  may not base claims before this Court on her choice.

         Considering the foregoing, dismissal is appropriate as to Plaintiff’s due

  process claims under the federal and Louisiana constitutions. The Court specifically

  notes at this juncture that Plaintiff fails to name Gov. Edwards in this suit and, as

  argued by Defendants, the named defendants are not the appropriate parties against

  whom Plaintiff could obtain redress, if she had stated a viable claim in this case.

         B.       28 U.S.C. § 1343

         Plaintiff’s complaint purports to state a claim under 28 U.S.C. § 1343.

  Plaintiff’s purported claim is without merit, as this provision does not create a

  substantive right of action, but rather it specifies federal court jurisdiction to include,

  as quoted by Plaintiff,

                  any civil action authorized by law to be commenced by
                  any person…to redress the deprivation, under color of any
                  State law…of any right, privilege or immunity secured by
                  the Constitution…providing for equal rights of citizen or
                  of all persons within the jurisdiction of the United States.70




  70
         28 U.S.C. § 1343(a)(3).

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           28 U.S.C. § 1343 is a purely jurisdictional statute and does not provide the

  basis for a substantive claim.71 Accordingly, any purported claim by Plaintiff under

  this provision should be dismissed under Fed. R. Civ. P. 12(b)(6).

           C.       Louisiana Due Process Claim (Article I, § 3)

           Article I, § 3 of the Louisiana Constitution provides that “no person shall be

  denied the equal protection of the laws.” This provision requires that all state laws

  “affect alike all persons and interests similarly situated.”72 As discussed above,

  Plaintiff does not and may not claim that she was personally prevented from the

  exercise of her religion because of the school mask mandates implemented by IPSB.

  As such, she has suffered no injury-in-fact and, accordingly, lacks standing under

  Article III to assert an equal protection claim under the Louisiana or U.S.

  Constitution.73 Even if Plaintiff could demonstrate standing as to this claim, the

  Court would similarly dismiss such claim because Plaintiff fails to show that the

  mandate at issue classified persons according to any impermissible trait, particularly

  religion.74 As expressed in a variety of cases, mask mandates are neutral law, applied

  equally to the citizenry.75 Accordingly, any purported claim by Plaintiff under this


  71
           Jewell v. City of Covington, Ga., 425 F.2d 459, 460 (5th Cir. 1970).
  72
           State v. Fleury, 799 So.2d 468, 472 (La. 2001).
  73
           Spokeo, Inc., 578 U.S. at 338-39 citing Lujan, 504 U.S. at 560 (“To establish injury in fact, a plaintiff must
  show that…she suffered ‘an invasion of a legally protected interest’ that is ‘concrete and particularized’ and ‘actual
  or imminent, not conjectural or hypothetical.’”).
  74
           Sibley v. Board of Sup’rs of Louisiana State University, 477 So.2d 1094 (La. 1985).
  75
           Zinman, at *16 citing Ward v. Rock Against Racism, 491 U.S. 781, 791 (1989), Oakes, 515 F.Supp.3d at
  1215 (“…mask mandates are content neutral, applying generally to everyone, and aimed at the purpose of
  protecting public health…”).

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  provision should be dismissed pursuant to Fed. R. Civ. P. 12(b)(1) based on

  Plaintiff’s lack of standing.76

           D.       Article I, § 20 of the Louisiana Constitution

           Article I, § 20 of the Louisiana Constitution declares that “[n]o law shall

  subject any person to cruel or unusual punishment.” Plaintiff alleges no facts tending

  to show that she was sentenced to any punishment for violation of any law, nor that

  any such sentence constitutes cruel and unusual punishment under Louisiana (or

  federal) law.77 Article I, § 20 pertains to criminal sentences and, thus, provides no

  right of action to Plaintiff in this matter. Accordingly, any purported claim by

  Plaintiff under this provision should be dismissed pursuant to Fed. R. Civ. P.

  12(b)(6).

           E.       Louisiana Children’s Code, Article 101

           Article 101 is the Preamble of the Louisiana Children’s Code and conveys no

  substantive rights, particularly as to Plaintiff, who retains only her individual claims

  in this action as explained above. Accordingly, any purported claim by Plaintiff

  under this provision should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).




  76
            Fed. R. Civ. P. 12(b)(1) permits the dismissal of one or more claims on the basis of lack of subject matter
  jurisdiction. “Standing is a species of subject matter jurisdiction, in that, if a party lacks standing, the court lacks
  subject matter jurisdiction and it must be dismissed.” In re Rhinesmith, 450 B.R. 630, 631 (W.D. Tex. 2011) (citing
  Cadle Co. v. Neubauer, 562 F.3d 369 (5th Cir. 2009), Sample v. Morrison, 406 F.3d 310, 312 (5th Cir. 2005).
  77
            State v. Sepulvado, 367 So.2d 762 (La. 1979).

                                                             23
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            F.      Nuremburg Code

           The Nuremburg Code does not create a private right of action.78 Accordingly,

  any purported claim by Plaintiff under this provision should be dismissed pursuant

  to Fed. R. Civ. P. 12(b)(6).

           G.       Conspiracy to deprive Plaintiff of civil rights in violation of 18

                    U.S.C. §§ 241, 242

           18 U.S.C. §§ 241 and 242 are criminal statutes and, for that reason, do not

  create private rights of action. Accordingly, any purported claim by Plaintiff under

  these provisions should be dismissed pursuant to Fed. R. Civ. P. 12(b)(6).

           H.       False imprisonment under Louisiana law

           Under Louisiana law, the tort of false imprisonment is defined as “‘the

  unlawful and total restraint of the liberty of the person.’”79 A plaintiff asserting a

  claim of false imprisonment must show, accordingly, the dual elements of “‘(1)

  detention of the person; and (2) the unlawfulness of the detention.’”80                                  Plaintiff

  alleges no detention, nor shows that she was detained unlawfully. Accordingly, any

  purported claim by Plaintiff for false imprisonment under Louisiana law should be

  dismissed pursuant to Fed. R. Civ. P. 12(b)(6).



  78
          Ward v. Shaefer, 2021 WL 1178291 *27 (D. Mass. 2021) citing Heinrich ex rel. Heinrich v. Sweet, 49
  F.Supp.2d 27, 42 (D. Mass. 1999), Robertson ex rel. Robertson v. McGee, 2002 WL 535045 *3 (N.D. Okla. 2002).
  79
          Hernandez v. Theriot, 709 Fed. Appx. 755, 757-58 (5th Cir. 2017) quoting Kelly v. W. Cash & Carry Bldg.
  Materials Store, 745 So.2d 743, 750 (La. Ct. App. 1999) (quoting Crossett v. Campbell, 48 So. 141, 143 (La. 1908).
  80
          Id. quoting Kennedy v. Sheriff of E. Baton Rouge, 935 So.2d 669, 690 (La. 2006).

                                                           24
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        Considering this Court’s finding that each of Plaintiff’s claims, alleging

  various constitutional violations related to the mandate at issue, are without merit,

  this Court also finds Plaintiff fails to satisfy the first requirement of her injunctive

  relief claim. As detailed above, law and jurisprudence indicate that Plaintiff would

  not be successful on the merits of any of her individual claims. For this reason, the

  Court recommends dismissal of Plaintiff’s claim for injunctive relief pursuant to

  Fed. R. Civ. P. 12(b)(6). Given Plaintiff’s failure to show likely success on the

  merits of her claims, the Court need not address the remaining requirements for

  injunctive relief.   Finally, considering the foregoing analysis, any claims for

  declaratory relief by Plaintiff should similarly be dismissed pursuant to Fed. R. Civ.

  P. 12(b)(6).

                                       Conclusion

        For the reasons discussed herein, the Court recommends that Defendants’

  motion to dismiss (Rec. Doc. 11) be GRANTED in full, dismissing Plaintiff’s claims

  on behalf of her minor children without prejudice; dismissing Plaintiff’s claims on

  her own behalf under 28 U.S.C. § 1343, Article I, Section 20 of the Louisiana

  Constitution, Article 101 of the Louisiana Children’s Code, the Nuremberg Code,

  18 U.S.C. §§ 241-42, and Louisiana’s law of false imprisonment with prejudice; and

  dismissing Plaintiff’s claims on her own behalf under Article I, Section 3 of the




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  Louisiana Constitution without prejudice. It is, accordingly, further recommended

  that Defendants’ first motion to dismiss (Rec. Doc. 4) be DENIED as MOOT.

        Under the provisions of 28 U.S.C. § 636(b)(1)(C) and Fed. R. Civ. P. 72(b),

  parties aggrieved by this recommendation have fourteen days from service of this

  report and recommendation to file specific, written objections with the Clerk of

  Court. A party may respond to another party’s objections within fourteen days after

  being served with of a copy of any objections or responses to the district judge at the

  time of filing.

        Failure to file written objections to the proposed factual findings and/or the

  proposed legal conclusions reflected in the report and recommendation within

  fourteen days following the date of its service, or within the time frame authorized

  by Fed. R. Civ. P. 6(b), shall bar an aggrieved party from attacking either the factual

  findings or the legal conclusions accepted by the district court, except upon grounds

  of plain error. See Douglass v. United Services Automobile Association, 79 F.3d

  1415 (5th Cir. 1996) (en banc), superseded by statute on other grounds, 28 U.S.C.

  §636(b)(1).

        THUS DONE in Chambers, Lafayette, Louisiana on this 24th day of

  February, 2022.

                                          ______________________________
                                          PATRICK J. HANNA
                                          UNITED STATES MAGISTRATE JUDGE


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